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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 FRANCISCO ESPARZA,                               §
                                                  §
         Plaintiff,                               §
                                                  §
 v.                                               §           Civil Action No. 3:19-cv-2284-L
                                                  §
 ANDREW M. SAUL, Commissioner of                  §
 Social Security Administration,                  §
                                                  §
         Defendant.                               §

                                              ORDER

       On October 2, 2020, the Findings, Conclusions and Recommendation of the United States

Magistrate Judge (Doc. 18) (“Report”) was entered, recommending that the court affirm the

decision of the Commissioner of Social Security Administration (“Commissioner”). Plaintiff filed

objections to the Report on October 12, 2020.

       The issues in Plaintiff’s objections were thoroughly addressed in the Magistrate Judge’s

comprehensive and well-written Report. Notwithstanding Plaintiff’s disagreement and objections

to the contrary, the court determines, after considering the file, record in this case, and Report, and

conducting a de novo review of the portions of the Report to which objections were made, that the

Magistrate Judge’s findings and conclusions are correct. The court, therefore, accepts the

Magistrate Judge’s findings and conclusions as those of the court; overrules Plaintiff’s objections;

affirms the Commissioner’s decision; and dismisses with prejudice this appeal.

       It is so ordered this 6th day of November, 2020.


                                                       _________________________________
                                                       Sam A. Lindsay
                                                       United States District Judge




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